                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI

VAZQUEZ COMMERCIAL                           )
CONTRACTING, LLC                             )
                                             )
                Plaintiff                    )
                                             )
vs.                                          )      Case No. 20-cv-0486-DGK
                                             )
ZIESON CONSTRUCTION                          )
COMPANY, LLC; SIMCON CORP                    )
MONIA HAAVIG,                                )
TORGENSON ELECTRIC                           )
COMPANY, INC.; MCPHERSON                     )
CONTRACTORS, LLC; MLT                        )
INVESTMENTS, LLC; METS, LLC;                 )
HAAVIG & ASSOCIATES, L.L.C.;                 )
ZURICH AMERICAN INSURANCE                    )
COMPANY; CHPB Sub 1, LLC F/K/A               )
TRUSS, LLC; MICHAEL PATRICK                  )
DINGLE; MATTHEW MCPHERSON;                   )
STEPHON ZIEGLER; RUSTIN                      )
SIMON.                                       )
                                             )
                                             )
                Defendants,

                 DEFANDENT MICHAEL PATRICK DINGLE’S MOTION
                      TO DISMISS PETITION FOR DAMAGES

       Pursuant to Federal Rules of civil procedure 8(a), 9(b), and 12(b)(6), defendant Michael

Patrick Dingle hereby moves to dismiss all claims against Mr. Dingle, with prejudice. Plaintiff’s

Petition for Damages alleges eight claims against Mr. Dingle: (1) Violation of the Federal

Racketeer Influenced and Corrupt Organizations Act (“RICO”) § 1962(c)(Count Ⅰ), (2) Violation

of RICO § 1962(a)(Count Ⅱ), (3) Violation of RICO § 1962(d)(Count Ⅲ), (4) Negligence (Count

Ⅴ), (5) Negligent Misrepresentation (Count Ⅵ), (6) Unjust enrichment (Count Ⅶ), (7) Tortious

Interference (Count Ⅷ), (8) Civil Conspiracy (Count Ⅸ). Each of these claims fails as a matter




{00464371. 1}
         Case 4:20-cv-00486-DGK Document 79 Filed 11/18/20 Page 1 of 4
of law to state any plausible claim for relief against Mr. Dingle, as further explained in Dingle’s

Suggestions in Support of this Motion to Dismiss.




Dated: November 18, 2020                              Respectfully submitted,



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{00464371. 1}
         Case 4:20-cv-00486-DGK Document 79 Filed 11/18/20 Page 2 of 4
                              CERTIFICATE OF SERVICE
        On this 18th day of November, 2020, I hereby certify that I served a true and correct copy
of the above and foregoing upon counsel of record filing the same electronically with the Court’s
Electronic Case Management System, which effects service via email upon parties of record.


                                              /s/ Thomas M. Bradshaw
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{00464371. 1}
         Case 4:20-cv-00486-DGK Document 79 Filed 11/18/20 Page 3 of 4
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{00464371. 1}
         Case 4:20-cv-00486-DGK Document 79 Filed 11/18/20 Page 4 of 4
